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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00050 (CRC)
        v.                                    :
                                              :
JENNIFER LEIGH RYAN,                          :
                                              :
                Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence defendant Jennifer Leigh Ryan to a 60-day term of incarceration

and $500 in restitution.

   I.        Introduction

        For more than a decade, Defendant Jennifer Leigh Ryan (“the defendant”) has promoted

her personal brand, touting her success as a real estate broker, self-help coach, and media

personality. As a self-described “influencer,” the defendant broadcasts over various platforms,

including social media, Youtube, and radio, garnering thousands of followers and millions of

views. See PreSentence Investigation Report (“PSR”) at ¶¶ 768, 79. On January 6, 2021, the

defendant enthusiastically participated in the attack on the United States Capitol while sharing the

experience with her followers. Throughout the day, she posted and live-streamed her activity,

publicly cheerleading a violent attack that forced an interruption of the certification of the 2020

Electoral College vote count, threatened the peaceful transfer of power after the 2020 Presidential

election, injured more than one hundred law enforcement officers, and resulted in more than a

million dollars’ worth of property damage.

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         The defendant pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating or Picketing in a Capitol Building. gAs explained herein, a custodial sentence is

appropriate in this case for numerous reasons.

        First, the defendant was aware that January 6 could be and did become violent. Hours

before any mob formed at the Capitol, the defendant broadcast repeated statements that the day

was a “prelude” to “war.” Before deciding to join others at the Capitol, the defendant received

and read a forwarded tweet reporting that rioters had breached barriers, caused destruction, and

overwhelmed police. Minutes later, from her hotel, she streamed on Facebook Live that “we’re

gonna go down and storm the Capitol; they’re down there right now and that’s why we came [.]”

As she left the hotel, she streamed, “I’m kinda freakin’ out. Because I’m going to war.”

       Second, as she arrived at the Capitol, the defendant continued to promote violence. She

posted a recording of herself stating that “we’re all gonna be up here, we’re gonna be breakin’

those windows, we’re gonna be havin’ to deal with the tear bombs” and proclaiming, as she

approached the East Rotunda door, “Life or death, it doesn’t matter, here we go.” After entering

the Capitol, the defendant stood inside the Rotunda lobby while another rioter shouted to others to

“go to [Speaker of the House Nancy] Pelosi’s office and destroy it,” after which the defendant

joined shouts to “Fight for Trump” before chemical irritants caused her to retreat from the building.

       Third, the defendant’s participation in the riot included more than a brief entry into and

exit from the Capitol Building itself. Although she left the Capitol interior after only a few

minutes, the defendant recorded herself near the building’s exterior between 3:37 and 4:22 p.m. as

she encouraged others to enter, shouted “we’re pushing our way in,” chanted “Hang Mike Pence,”

and observed that “really, we could go in there” and “the military’s not gonna come.”




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       Fourth, the defendant promoted additional violence beyond the Capitol, tweeting a

photograph of a broken window captioned with a threat that “if the news doesn’t stop lying about

us we’re going to come after their studios next . . .” (ellipsis in original). Minutes later, the

defendant posted another tweet about the “cool moment” when a crowd that included her

codefendant damaged press equipment at a media enclosure on the Capitol grounds.

       Fifth, after the riot, the defendant publicly and repeatedly communicated a lack of remorse.

In multiple television interviews and in subsequent social media postings that include a smiling

self-portrait beside the broken Capitol window described above, and a tweet that January 6 was

the “best day of my life.” In a personal message from January 12, 2021 that was recovered from

her cellular phone, she claimed “I deserve a medal for what I did.” 1 In an interview with Spectrum

News recorded on January 8, 2021 and aired the following week, the defendant stated she “did not

regret” her actions at the Capitol.2 In an interview recorded on or about January 13, 2021 with

Cynthia McFadden of NBC News, the defendant explained that she felt “like a martyr” and had

“no guilt in my heart.” In an interview with Fox News, the defendant described her presence on

January 6 as “something noble.” At the end of a tweet posted on March 26, 2021, the defendant

stated “I did nothing wrong.”

       Sixth, the defendant actively and widely spread false information on social and traditional

media that falsely downplayed or even denied the violence on January 6. The day after the riot,



1
  The defendant sent similar messages to various contacts. On January 8, 2021 at 10:29 a.m., she
wrote to the group she accompanied to the Capitol, “We did nothing wrong.” On January 9, 2021,
two messages sent at 11:27 stated “I was standing up for my country” followed with “And I’m
proud;” A message from January 10, 2021 at 7:24 p.m. to a reporter states “I hope you don’t make
me look bad but I really didn’t do anything wrong . . .”. On January 12, 2021 at 11:19 p.m., she
wrote “And also I’m so proud of myself because I have balls of steel I’m f***ing where is the
capital [sic];” and at 10:27 p.m., “I was so honest I said I’m storming the capital and I didn’t hide
it I made it public.”
2
   See https://www.youtube.com/watch?v=wm7EjLmeWjA (at 5:10 minutes).
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despite her earlier forecasts of “war”, her references to storming the Capitol, her observation of

rioters breaking windows, her participation in chants of “Hang Mike Pence,” her excitement that

“we are pushing our way in” to the Capitol, her knowledge of a crowd destroying media equipment,

and her knowledge of at least one fatality, on January 7, 2021 the defendant tweeted that “We were

not violent. . . . We were peaceful.” In the McFadden interview, the defendant claimed that

“violence did not cross my mind.” In a series of messages replying to inquiries from a reporter,

on January 7, 2021 the defendant wrote: “Assault?” “That’s fake news.” “Riot?” “We were

marching for freedom” and “It was so peaceful if you hadn’t been there I have video of it all.” In

her Spectrum News interview, the defendant obscured her own knowledge of violence, stating that

she did not personally break any windows.

       Seventh, the defendant also provided false information about the extent of her own conduct.

In her Spectrum interview, she claimed, referring to the Capitol, “we didn’t really want to go in

there.” 3 In personal messages, she denied entering the Capitol at all. To Spectrum, she claimed

that she was “at the doorframe but no further.” In her pre-sentence interview with Probation, she

falsely maintained that she did not even know there was a riot when she arrived at the Capitol.

PSR ¶ 29.

       Eighth, not only during the riot, but in its aftermath, the defendant sought to exploit her

presence during the attack on the Capitol for profit. In the midst of a riot meant to disrupt the

certification of a presidential election, the defendant chose to promote her real estate business,

boasting that “I will f***ing sell your house.” In messages sent one week later, the defendant




3
 In contrast, the defendant recorded herself in her hotel room watching Fox news and exclaiming
“they’re climbing the walls of the Capitol” and “we’re going to get them out of their chairs.”
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contemplated the business she needed to prepare for as a result of the publicity she received from

joining the mob at the Capitol.

         Ninth, the defendant’s post-arrest conduct includes public statements made months after

her arrest reflecting a belief that she is immune from punishment because of her appearance and

social status, and a personal message that she will get off “Scott free.” The sense of impunity in

these statements demonstrates a need for specific deterrence in this defendant’s case, and reflects

that she fails to appreciate the seriousness of her conduct or the charges against her.

         Despite the foregoing, the defendant’s background may suggest some reasons for leniency.

Her family history was troubled. She has entered a guilty plea and accepted responsibility for at

least her physical presence inside of the Capitol. The defendant does have a criminal history,

although it is dated and consists of misdemeanor convictions. Nevertheless, the defendant’s

participation in a riot that actually succeeded in delaying the Congressional certification combined

with her promotion and celebration of violence, her consistent and public lack of remorse, her

dishonesty and sense of impunity, her mercenary exploitation of the riot, and her greater potential

to incite future violence renders a custodial sentence both necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 39 (Statement of Offense), at 1-5. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and d-estruction of that day. See United States

v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety



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of numbers.”) (statement of Judge Chutkan). With that backdrop we turn to the defendant’s

conduct and behavior on January 6.

             Jennifer Leigh Ryan’s Role in the January 6, 2021 Attack on the Capitol

         On January 5, 2021, the defendant boarded a private plane chartered by a Facebook friend

and traveled with her codefendants and others from her home in Texas to Washington, D.C. to

attend the “Stop the Steal” rally. At approximately 7:00 a.m. on the morning of January 6, the

defendant streamed her walk to the rally on Facebook, commenting repeatedly that the rally was a

“preclude” to “war.” 4 After attending the rally, the defendant and her group returned to their hotel

rooms.

         At approximately 2:20 p.m., the defendant recorded herself in her hotel room watching Fox

News report the breach of the Capitol, exclaiming, “they’re climbing the walls of the Capitol” and

“we’re going to go down there because we’ve had it.” At approximately 2:28 p.m., a member of

the defendant’s group forwarded a tweet describing “Trump supporters” who “breached all

security barriers and are now actively destroying and occupying the Capitol building” and who

were “fighting federal police who are overrun.” The image of this tweet was recovered from the



4
 At 1:20 minutes into the stream, (shortly after 7:00 a.m.), the defendant explains that she is there
because “they want to steal the election.” At 4:19 minutes, she states that “protesting like this is a
prelude to when we’re gonna go to war; we’re gonna pack up our bags and we’re gonna have this
fight.” At 5:22 minutes, she states “this is a prelude to the war that is about to happen and we are
not messin’ around there’s a lot of us that are gonna be—there’s more of us then there are of them,
we’re gonna go right onto that . . .we’re gonna let them know that they better frickin’ listen to the
evidence today”. At 14:23 minutes, the defendant states that “if it comes down to war guess what
I’m gonna be there I don’t know what I’m gonna be doin’ but I’m gonna be doin’ something I
guarantee . . . I’m gonna be fightin’ on the front lines wherever it is—yup--because I’m that kinda
girl and I think you should know it.” Again, at 20:17 minutes, the defendant states that “you guys,
this is a prelude to going to war ’cause that’s what’s gonna have to happen if we do not win, we’re
gonna be the ones, we’re gonna be the first ones sayin’ no. Nononononononono. You get up off
your booties, get on your planes . . .”. The repeated characterization of the morning rally as a
prelude to “war” foreshadows the violence at the Capitol that began hours later and forecloses any
claims that the defendant intended to support only a peaceful protest.
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defendant’s cellular phone with metadata showing that the message was read. At approximately

2:33 p.m., the defendant tweeted “We are here!!! We are taking it!!! There is [sic] more of us

then there are of them.” Minutes later, at approximately 1:41 p.m., the defendant streamed herself

on Facebook from her hotel room stating: “We’re going to go down and storm the Capitol. They’re

down there right now and that’s why we came and that’s what we’re gonna do so wish me luck.”

At approximately 2:43 p.m., the defendant streamed herself on Facebook leaving her hotel room

while saying “I’m kind of freaking out. Because I’m going to war.”

       Approaching the Capitol, the defendant continued filming herself, explaining, “We’re all

gonna be up here we’re gonna be breakin’ those windows, we’re gonna be havin’ to deal with the

tear bombs . . .” She continued recording as she approached the entrance to the Capitol,

proclaiming, “Life or death, it doesn’t matter, here we go.” At 3:21 p.m., the defendant entered

the Capitol through the East Rotunda door with codefendant Jason Lee Hyland, as she streamed

herself moving past broken windows while alarms audibly sounded. As the defendant entered,

other exiting rioters streamed past her, commenting about tear gas in the air.




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        The defendant entered the Capitol, shouting “USA” and “in the name of Jesus.” She asked

Hyland about codefendant Katherine Staveley Schwab’s location, and determined that Schwab

was further ahead. As she recorded her intrusion into the Capitol for Facebook Live, the defendant

also found it appropriate to promote her real estate business, announcing “You guys, will you

believe this? I am not messing around. When I come to sell your house, this is what I will do. I

will f***ing sell your house.” 5

       The defendant declined to intrude as far as Schwab, anticipating that police would deploy

tear gas and remarking, “I don’t have any goggles.” Individuals next to her commented that “I

don’t think they’re spraying people till they get to those wooden doors,” indicating doors further

ahead, and “if you push hard enough they’ll budge.” The defendant responded, “Okay, let’s just

stand here.” Separately, a third party recorded the defendant standing and recording inside the

Capitol while a rioter shouted for the crowd to “go to Pelosi’s office and destroy it.” 6 The

defendant then joined a chant to “Fight for Trump.” At 3:23 p.m., the defendant began to exit

from the inside of the Capitol.

       At approximately 3:30 p.m., the defendant recorded herself on Facebook preaching near

the East Rotunda door when another rioter interjected, “they’re breaking the window over here,

film that s***.” The defendant went to the window indicated; however, the damage had been



5
  In a later message on January 11, 2021, the defendant also boasted, “And I’m becoming famous
from this. And I’m getting lots and lots of business lined up for when all this blows over . . .”. On
January 13, 2021, she sent an electronic message that “Now I have an NBC news request as well
as Forbes I’m gonna be in every magazine in the world” followed by “Get ready for some
business[.]”
6
   In a 43-minute interview with Cynthia McFadden for the Today Show, the defendant
acknowledged hearing “instigators that were trying to start chants and stuff.”
https://www.today.com/video/jenna-ryan-describes-the-moment-she-entered-the-capitol-january-
6-99615813711 (last checked Oct. 11, 2021).
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completed. The damage to that window matches the window in a photograph the defendant later

tweeted, where she stands smiling and forming a “V” sign with her fingers.




       At approximately 3:34 p.m., about eleven minutes after her exit from the Capitol’s interior,

the defendant continued to record herself and a crowd trying to force its way through the Rotunda

door. In this recording, the defendant exclaimed “we’re pushing our way in, we will fight to the

death, I guarantee . . .” A minute or so later she remarked that she felt “a high like no other I have

ever experienced.” At approximately 3:36 p.m., the defendant joined chants of “Hang Mike

Pence.”

       At approximately 4:18 p.m., the defendant moved to another location at the Capitol. At

4:22 p.m., the defendant recorded herself with Hyland and Schwab. In the recording, after

exclaiming that she got “sprayed,” the defendant repeats statements from other rioters that

someone got shot, and continues, “We are having a war. This is the beginning of it. I hate to tell

you. I hate to be on the front lines. That’s the kind of people we’re messin’ with. They shot a 17-
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year old with a real bullet . . . . They’re breaking the windows now. I hear it. That’s what happens.

Whattaya gonna do, call the military? Ya think the military’s gonna come? No. The military’s

not gonna come. Really we can go in there [the Capitol].”

       Before leaving the Capitol grounds, the defendant, Schwab, and Hyland arrived at a press

enclosure where the crowd attacked media equipment. Schwab joined the crowd’s assault. A third

party’s video posted on Youtube shows codefendant Schwab kicking media equipment and

throwing one piece of equipment on the ground. That evening the defendant posted a description

on Twitter of “a cool moment” when “they just went to town on the AP equipment.” She also

tweeted a photo at 7:03 p.m. that night of the smashed equipment:




                                                 10
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 7:03 PM · Jan 6, 2021 · Twitter for iPhone



          A few moments later, the defendant tweeted “I do have footage of people telling me not to

go in [to the Capitol] because a lady just got shot and I said oh well. And all my friends we are

100% we didn’t care we’re here for the USA. Give me liberty or give me death. No joke.”

          For the defendant, the attack on the Capitol was “one of the best days of my life.”

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          Following the riot, the defendant continued to make comments on various social media

platforms minimizing and denying the violence that occurred, falsely minimizing her entry into

the Capitol and denying that she engaged in any wrongdoing. In personal messages, the defendant

initially denied entering the Capitol at all. In an interview recorded on January 8, 2021 for

Spectrum news, the defendant claimed she got no further than the doorframe of an entrance into

the Capitol building (at 2:48 minutes), 7 and there was no violence when she was at the Capitol

because the police already had everything under control (at 3:55 mintues). 8 On January 11, 2021

in an instant message on Facebook, the defendant claimed falsely:

From: 1            Jenna Ryan

Only took one step into the building




1/11/2021 8:45:41 PM(UTC-6).


In her 43-minute recorded interview with NBC’s Cynthia McFadden, the defendant maintained

that “I did not know I was breaking the law” (at 26:08 minutes); she did not really want to go to



7
 The Spectrum interview appears at https://www.youtube.com/watch?v=wm7EjLmeWjA.
8
 But compare the defendant’s own recording from January 6 at 4:22 p.m., where the defendant
comments on windows being broken, announces that a war is starting, and states “really we
could go in there,” referring to the Capitol, because “the military’s not gonna come.”
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the Capitol (at 13:16 minutes); she felt “perfectly innocent in everything I have done” (at 23:56

minutes); and she wanted a pardon for all nonviolent January 6 protestors because “it’s like a witch

hunt” for a misdemeanor (at 31:30 minutes). In a January 13, 2021 interview with Fox News, 9 the

defendant maintained that by joining the riot, “I was doing my duty.” To her, January 6 “was a

protest” and she stated “I do not feel that I did anything wrong; in fact, I felt that I did something

noble and I’m proud of being there, I have no shame to be there; I feel very persecuted.” As late

as June, on the platform Gettr.com, the defendant blamed the same conduct that she had

encouraged on the FBI and antifa.

       Her comments prompted support from some and harsh criticism from others. In response

to one critic suggesting she was going to jail, the defendant responded that she was “definitely not

going to jail” because she has “blonde hair,” “white skin,” and a “great” job and future. 10




                                 The Charges and Plea Agreement

       On January 14, 2021, Jennifer Leigh Ryan was charged by complaint with violating 18

U.S.C. §§ 1752(a)(1) and (a)(2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On January 15, 2021,

she surrendered to agents at the federal courthouse in Plano, Texas. On February 16, 2021, the

defendant and her codefendants were charged by a four-count Superseding Information with


9
 The interview is available on YouTube at https://youtube.com/watch?v=gYssqp41DkU.
10
  This expression of impunity was not isolated. On January 12, 2021 at 11:30 p.m., the defendant
wrote in a personal message from a gmail account: “Oh well I can always say I’ve done it all. I’ve
done everything including having a criminal trial and getting off Scott free because I will get off
anything to [sic] try to pin on me.” Not surprisingly, in her January 13 interview with Fox News,
the defendant stated that “I have no fear of getting arrested.”
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violating 18 U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). ECF 18. A

second superseding information against all defendants added an additional charge against Schwab

and was filed on June 7, 2021. ECF 34. On August 19, 2021, the defendant pleaded guilty to

Count Four of the Second Superseding Information which charged a violation of 40 U.S.C. §

5104(e)(2)(G), Parading, Demonstrating or Picketing in a Capitol Building. ECF 38. In her plea

agreement, the defendant agreed to pay $500 in restitution to the Department of the Treasury. Id.

at 6.

    III.      Statutory Penalties

           The defendant now faces a sentencing on a single count of 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment, PSR ¶ 99, a fine of up to $5,000, PSR ¶ 111, and a mandatory $10 special

assessment, PSR ¶ 112. The defendant must also pay restitution under the terms of her plea

agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C.

Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not apply to

it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

    IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,




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§ 3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of

incarceration.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

only times in our history when the building was literally occupied by hostile participants. By its

very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each individual person who entered the Capitol on January 6

did so under the most extreme of circumstances. As a person entered the Capitol, each would—at

a minimum—have crossed through numerous barriers and barricades and heard the throes of a

mob. Depending on the timing and location of the approach, each rioter also may have observed

extensive fighting with law enforcement and, like the defendant, would have smelled chemical

irritants in the air. Make no mistake, no rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, and how the defendant entered

the Capitol building; (2) whether the defendant engaged in any violence or incited violence;

(3) whether the defendant engaged in any acts of destruction; (4) the defendant’s reaction to acts

of violence or destruction; (5) whether during or after the riot, the defendant destroyed evidence;

(6) the length of the defendant’s time inside of the building, and exactly where the defendant

traveled; (7) the defendant’s statements in person or on social media; (8) whether the defendant

cooperated with, or ignored, law enforcement; and (9) whether the defendant otherwise exhibited



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evidence of remorse or contrition. While these factors are not exhaustive or dispositive, they help

to place each individual defendant on a spectrum as to their fair and just punishment.

       The defendant drew on her considerable experience as a social media influencer to promote

violence before her arrival at the Capitol. 11 See, e.g., PSR ¶ 79(g) (listing defendant’s ranking as

the 87th most influential person online in a 2010 Fast Track Magazine article). 12 The defendant

understood the impact that her statements would have on others. She sought to persuade others to

“fight” with the goal of disrupting a presidential election. Thus, the defendant’s intrusion into the

Capitol has greater significance than someone who simply entered and then left. Moreover, she

went to the Capitol explicitly and presciently acknowledging that the force of numbers itself was

a tool for overcoming the officers guarding the Capitol, tweeting from her hotel that “there is [sic]

more of us then there are of them.” As she stated in a video depicting her approach to the Capitol,

“we’re gonna be breakin’ those windows we’re gonna have to be dealing with the tear bombs . .

.”. Accordingly, the defendant’s participation in the riot cannot be placed at the lowest end of the

spectrum of conduct on January 6. 13



11
    A survey of the defendant’s social media and online footprint reveals her considerable
following. A review of an archived copy of her Twitter page (@dotjenna) from January 19,
2021 indicates that she had “18.8K” followers at that time (accessible at https://web.archive.org/
web/20210119103239/https://twitter.com/dotjenna?lang=en). Her self-help website,
selfloveu.net, has had a static banner listing “56.8K” subscribers and 3,828,231 views for some
time. See http://selfloveu.net/youtube-channel/ (last accessed on October 28, 2021). However,
the associated Youtube channel, as of October 22, 2021, lists “66K” subscribers, with several of
her videos having been viewed more than 60,000 times. See https://www.youtube.com/
results?search_query=selfloveu. The defendant also highlighted to the presentence report writer
that one of her makeup videos on Instagram (@dotjenna) has over 111,000 views. PSR ¶
69(b)(ii). In a January 13, 2021 text message exchange with a third party, the defendant attached
a screenshot of a tweet showing her photograph by the broken Capitol window to document that
“I have 242,000 likes.”
12
    In the Today Show interview cited above, the defendant stated that “I just know how to share
online to get people’s attention.”
13
   Implausibly, the defendant maintained during the McFadden interview that “violence did not
cross my mind” (at 10:44 minutes).
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       The defendant’s knowledge of violence at the Capitol did not deter her from entering the

building through the sound of alarms and the smell of tear gas, and as she passed next to broken

windows. Indeed, she wanted to share these details with others, streaming them live on Facebook

and taking photographs for Twitter. Immune to the stature of her location or the gravity of her

endeavor, the defendant joined a mob not only to support a disruption of the peaceful transfer of

power, but also for the promotion of her services as a real estate agent by stating, “I will sell your

f***cking house”. A week later, she contemplated that publicity from January 6 would place her

in “every magazine in the world” and it was time to “get ready for business.” For the defendant,

a mob attack at the core of the nation’s democracy was an appropriate opportunity to exploit for

business development. Her cavalier behavior shows indifference to her own unlawful activity and

its seriousness, despite her demonstrable recognition of its potential for harm.

       The defendant intruded into the Capitol willfully; she was not propelled inside by pressure

from a crowd, and in fact, her determination to gain entry rose to a level where “life or death, it

doesn’t matter.” As she entered, others exited. The defendant could have chosen, but did not, to

reverse course. As she entered, the defendant also detected tear gas. She had no reason to believe

that her presence was appropriate or welcome.

       While inside, she shouted, “Fight for Trump!” and was positioned to hear shouts

demanding destruction of the Speaker’s office. According to the defendant, she chose to remain

inside the Capitol until “pepper spray,” not remorse, forced her out. 14 Once outside and reunited

with her codefendants, she again posted a smiling, celebratory video, amused that she had reached




14
  In a tweet and in the Today Show television interview (at 15:28 minutes), the defendant
attributes her exit from the Capitol to pepper spray. In a January 6 tweet, the defendant states
that the attack on media equipment happened after “we got pepper sprayed out of the capital
[sic].”
                                                 17
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the other side of the Capitol building. This video ends as the defendant appears to approach the

Capitol again, stating, “c’mon let’s do it”. Whatever she intended to do, after her exit from the

Capitol’s interior, she chose to remain in proximity to the building’s entrance, encouraging rioters

who tried to push their way in and suggesting that others could enter without intervention from the

military.

       The defendant’s endorsement of violence extended to loss of life and damage to property

and continued even outside of the Capitol building. At 7:01 p.m., she posted a smiling self-portrait

by a broken Capitol window, captioned with a warning that the news media would be next; an hour

later, she posted the “cool moment” when rioters, including codefendant Schwab, damaged media

equipment. At 7:07 p.m., the defendant appeared to acknowledge the fatal shooting of a rioter as

an acceptable collateral consequence because they “were there for the USA.” 15          Before the

morning rally, during the riot, and after her departure from the crowd and the intensity inside the

Capitol building, the defendant supported and even threatened violence. These circumstances also

push assessment of the defendant’s conduct away from the least serious end of the offense conduct

spectrum.

       After the riot, the defendant’s statements show a near total lack of remorse. According to

her posts, January 6 was the best day of her life. On January 7, she tweeted that “We had to storm

the US Capital [sic]. We were very sweet about it, everyone saying excuse me, etc. … But we had

to do it. Pence let us down. Those cronies in there are stealing our country.” On Twitter and in

televised interviews, the defendant described herself as a patriot who did nothing wrong and who



15
  Several hours later, at 11:41 p.m., after receiving reactions to this tweet, the defendant adopted
a more moderate tone, stating, “The woman was murdered. She did nothing. My heart is hurting
for her, but she was prepared for the risk. She died a martyr . . .” Even here, however, the message
shows no sense of wrongdoing by the mob, or by extension, the defendant herself, who joined and
encouraged the mob.
                                                18
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was deserving of a presidential pardon. In March, months after the riot, the defendant tweeted

again, “I did nothing wrong.”

       The defendant experienced backlash after the riot, including critical statements on social

media. She reported threats to the local police, and alleged that she experienced “doxxing,” that

is, the unauthorized and retaliatory online disclosure of her personal information. She had to form

a new real estate company with a different name. In this context, the defendant has stated to

Probation that she wants to put “Capitol events” behind her and that they are “not something I’m

proud of at all.” PSR ¶ 32. Most of her 28-line statement to Probation, however, addresses the

defendant’s own preferences and goals, her desire to be uplifting, and her objections to bullying

and defamation and to “Cancel culture.” In an oral interview with a Probation officer, the

defendant said she doubted she would be arrested at all and described herself as a victim. PSR ¶¶

30-31. Her statements raise questions over whether the defendant regrets the outcomes of her

offense as opposed to feeling any remorse for committing the offense itself. 16

       Moreover, the defendant has mispresented her conduct to Probation by contending that

“she did not even know there was a riot when she arrived” at the Capitol. PSR ¶ 29.            Her

statements prove otherwise: early in the morning of January 6, the defendant described the

upcoming rally at the Ellipse as a “prelude” to “war.” She reviewed a tweet describing a

destructive breach of the Capitol that overwhelmed police. She recorded herself watching

television coverage of the riot that depicted rioters climbing walls at the Capitol. From her hotel

room, she tweeted “We are here!!! We are taking it!!! There is more of us than there are of them.”

She quickly followed with a video statement that “we’re gonna go down and storm the Capitol;




16
  Also during the Today Show interview, the defendant remarked that “I have no guilt in my
heart” (at 24:09 minutes) and that she feels like a martyr (at 38:33 minutes).
                                                19
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they’re down there right now and that’s why we came. . .” followed by another video stating that

she was going to war. If that were not enough to show the defendant’s awareness of a mob

overwhelming police, as she approached the Capitol, she posted another video where she stated

“we’re gonna be breakin’ those windows we’re gonna be havin’ to deal with the tear bombs tear

with the gas bombs because we have to because they’re takin’ our sh**.” This lack of candor

with the Court’s own officers certainly does not weigh in favor of a more lenient sentence.

        Finally, the defendant has publicly mischaracterized her own role in the riot, making false

public statements indicating that she barely crossed the threshold to the Capitol when photographs

and video show otherwise. She tweeted a threat to come after the media above her photo of the

broken window, followed by praise (“a cool moment”) for those who subsequently damaged press

equipment consistently with that threat. In the aftermath of a violent and fatal riot, the defendant

has falsely denied that there was violence, asserting that the rioters were “sweet.” Accordingly,

the nature and the circumstances of this offense establish the clear need for a custodial sentence in

this matter.

            B. The History and Characteristics of the Defendant

        As set forth in the PSR, the defendant’s criminal history consists of misdemeanors that

include an assault for which she was fined and a conviction for driving with a suspended license,

resulting in a sentence of nine months’ probation and a fine. PSR ¶¶ 37, 38. Experiencing

probation and the imposition of fines in the past was not sufficient to deter the defendant from

joining a riotous mob seeking to disrupt certification of a presidential election. Thus, while the

defendant has been compliant with the terms of her pretrial release, PSR ¶ 8, her history calls for

more than a probationary sentence.




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       Moreover, the defendant has not consistently paid her taxes, with a history of federal and

state tax liens from 2013 and 2016 that caused a deficiency of more than $35,000 in back taxes

that was not resolved until April, 2021. Despite her own history of tax delinquency, the defendant

recorded herself, before release of tax liens on her own assets, on the Capitol steps declaring that

she “was tired of paying taxes” to “crooks.”

       The PSR reports that the defendant had a difficult and traumatic childhood. According to

the PSR, in the defendant’s judgment, she has worked through that history. See PSR ¶66. On

January 13, 2021 in messages with a concerned friend recovered from her cell phone, the defendant

maintained “I don’t need help” and “I’m Quite [sic] self sufficient.” She has employment as a real

estate agent, has worked as a life coach, and has been considered by herself and by others as an

“influencer” who has successfully utilized radio and social media to establish a following. While

the defendant’s professional accomplishments can be commended, they do not excuse the offense

she committed or offset its gravity.       And in this case, the defendant’s experience with,

understanding of, and access to various media outlets such as radio, television, and social media

casts her activity on January 6 in an even more disturbing light, because of both her increased

ability to promote violence and to mislead the public about the events of January 6.

       What might be the most troubling aspect of the defendant’s character is her belief, stated

explicitly, that she will not be held to account for her conduct. She publicly sought a presidential

pardon for her crimes while also blaming others, such as the FBI and “antifa,” for the violence and

destruction of property that occurred on January 6 without acknowledging her own considerable

contribution to the belligerence. Then, in March, she proclaimed on social media that because of

her race, her appearance, and her economic position she would avoid incarceration. This belief

that she will not face significant sanction simply because of who she is and regardless of whether



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punishment is deserved means that there is little, while she persists in this belief, to deter the

defendant from similar or additional wrongdoing. To be clear, the defendant is free to express her

beliefs that she is unaccountable, no matter how offensively those beliefs are stated. But once

expressed, this Court is free to consider her statements and beliefs in order to meet the statutory

requirement to evaluate the defendant’s characteristics and determine the need for a sentence that

will deter the defendant and others from engaging in similar violations. Here, the defendant’s

sense of impunity, indifference to violence and denial of wrongdoing call for a custodial sentence.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 17 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration, as it will in most cases arising out of the riot on

January 6, 2021, including in misdemeanor cases. See United States v. Joshua Bustle and Jessica

Bustle, 21-cr-238-TFH, Tr. at 3 (“As to probation, I don't think anyone should start off in these

cases with any presumption of probation. I think the presumption should be that these offenses

were an attack on our democracy and that jail time is usually -- should be expected”) (statement

of Judge Hogan).

       Offenses that attack our democracy like the riot at the Capitol are rare, if not unprecedented.

This defendant’s sense of impunity is striking, not just because she explicitly holds herself above



17
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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the law but because she believes that her social status and race protect her from accountability.

Any sentence she receives, however, must promote respect for the rule of law that this defendant

believes she can disregard on account of who she is. Cf. 28 U.S.C. § 994(d) (requiring the United

States Sentencing Commission to assure that its guidelines and policy statements are “entirely

neutral as to race, sex, national origin, creed and socioeconomic status of offenders”); United

States v. Lopez, 938 F.2d 1293, 1297 (D.C. Cir. 1991) (observing that Congress intended to

counter any suggestion that preferential treatment for defendants of a particular race or level of

affluence was appropriate, or that defendants should face prison because they are poor or

uneducated).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the transfer of power. As noted by Judge Moss during sentencing, in United States v.

Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that



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       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

       Specific Deterrence

       Ample evidence shows a need for specific deterrence in this case. The defendant has

continued to deny wrongdoing, even as recently as her September 2, 2021 interview with Probation

in which she falsely denied knowledge that a riot was occurring at the Capitol before her arrival

there. On social media and in television interviews, she has proclaimed that she did nothing wrong.

Rather than acknowledge her own actions and choices, she has described “storming” the Capitol

as justified and necessary. The defendant has not shown remorse. When contrasted with the

sampling of statements in this paragraph, the reference in her written statement of September 10

to Probation that she is “not proud” about the “Capitol events” (which previously represented “the

best day” of her life) can rightly be viewed with skepticism. See Mazzocco, 1:21-cr-00054 (TSC),

Tr. 10/4/2021 at 29-30 (“Mr. Mazzocco’s remorse didn’t come when he left the Capitol. It didn’t

come when he went home. It came when he realized he was in trouble. It came when he realized

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that large numbers of Americans and people worldwide were horrified at what happened that day.

It came when he realized that he could go to jail for what he did. And that is when he felt remorse,

and that is when he took responsibility for his actions”). Even if the defendant is found to be

remorseful, her remorse did not develop quickly, and does not appear to be profound. It did not

surface until months after her arrest and guilty plea in the form of a brief remark made to Probation

on September 10. Thus, it should not carry great weight.

       Perhaps the most compelling need for specific deterrence arises from the defendant’s

misguided belief that she is above the law, or at least insulated from incarceration. According to

the defendant, she is:]

       Definitely not going to jail. Sorry I have blonde hair white skin a great job a great
       future and I’m not going to jail. . . . I did nothing wrong.


A defendant who believes she is immune from strict punishment because of her race and physical

appearance may reoffend because the consequences for wrongdoing will never, in the defendant’s

mind, be severe even when severity is merited. Rather than hope for some chance the defendant

will learn on her own that she is indeed accountable, this Court should impose accountability

through a sentence that will refute the defendant’s sense of impunity and thereby protect the public

from the risk of her future crimes, see 18 U.S.C. § 3553(a)(C).

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, to assault

on law enforcement officers, to conspiracy to corruptly interfering with Congress. Each offender

must be sentenced based on their individual circumstances, but with the backdrop of January 6 in

mind. Moreover, each offender’s case will exist on a spectrum that ranges from conduct meriting



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a probationary sentence to crimes necessitating years of imprisonment.         The misdemeanor

defendants will generally fall on the lesser end of that spectrum, but misdemeanor breaches of the

Capitol on January 6, 2021 were not minor crimes. A probationary sentence should not necessarily

become the default. 18   Indeed, the government invites the Court to join Judge Lamberth’s

admonition that “I don’t want to create the impression that probation is the automatic outcome

here because it’s not going to be.” United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL),

Tr. 6/23/2021 at 19.

       While the number of sentenced defendants is low, we have already begun to see meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration, while those who trespassed, but engaged in less serious aggravating

factors, deserve a sentence more in line with minor incarceration or home confinement. After a

review of the applicable Section 3553(a) factors, the government believes that the defendant’s

conduct falls in the former category.

       The defendant came to D.C. expecting violence and predicting “war;” publicized her intent

to storm the Capitol; converged on the Capitol after learning rioters were there and excitedly

broadcast that police were outnumbered; entered the Capitol and apparently left only after



18
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its prior agreement to recommend probation in these cases. Cf. United States v.
Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities
under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program
and those who do not given the “benefits gained by the government when defendants plead
guilty early in criminal proceedings”) (citation omitted).
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experiencing the effects of tear gas; celebrated the violence required to breach the Capitol;

threatened and approved of violence outside the Capitol, particularly against the news media;

showed no remorse in the months that followed and declared January 6 to be the best day of her

life; spread false information to the public; lied to Probation; has a criminal history which

demonstrates that fines and probationary sentences did not deter the defendant from misconduct

in this case; does not consistently pay her taxes; and believes herself to be immune from

punishment because of her appearance and socioeconomic status. Thus, this defendant should not

be compared to those who obtained a home confinement or probationary sentence.

   V.      Conclusion

        Sentencing here requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). As detailed above, some of those factors support a sentence of incarceration

and some support a more lenient sentence. Balancing these factors, the government recommends

that this Court sentence Jennifer Leigh Ryan to incarceration for 60 days and $500 in restitution.

Such a sentence protects the community, promotes respect for the law, considers the failure of past

probationary sentences to deter the instant offense, and deters future crime by imposing restrictions

on her liberty as a consequence of her behavior, while recognizing her early plea of guilty and

troubled past.

                                              Respectfully submitted,

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